
GERBER, J.
After consideration of the three arguments which the defendant raises in this *1022appeal, we affirm the defendant’s convictions and sentence. We write to address only the defendant’s argument that the trial court committed fundamental error in giving the standard jury instruction on attempted voluntary manslaughter which contains language regarding the defendant “committing] an act which was intended to cause the death of’ the victim. We affirm on that argument consistent with our opinion in Williams v. State, 40 So.3d 72 (Fla. 4th DCA 2010) (giving of the standard jury instruction on attempted voluntary manslaughter was not fundamental error in a prosecution for attempted first degree murder in which the defendant was convicted of the lesser included offense of attempted second degree murder), rev. granted, 64 So.3d 1262 (Fla.2011). We certify conflict with Houston v. State, — So.3d -, 2011 WL 3518029 (Fla. 2d DCA 2011); Burrows v. State, 62 So.3d 1258 (Fla. 3d DCA 2011); Burton v. State, - So.3d -, 2011 WL 1326258 (Fla. 5th DCA 2011); and Lamb v. State, 18 So.3d 734 (Fla. 1st DCA 2009).

Affirmed; conflict certified.

STEVENSON and TAYLOR, JJ., concur.
